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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-606V
                                     Filed: March 27, 2017
                                         UNPUBLISHED

****************************
MICHELE DOMINIANNI,                     *
                                        *
                   Petitioner,          *     Damages Decision Based on Proffer;
v.                                      *     Influenza;
                                        *     Shoulder Injury; SIRVA;
SECRETARY OF HEALTH                     *     Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                     *
                                        *
                   Respondent.          *
                                        *
****************************
 Ronald Craig Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for petitioner.
Darryl Wishard, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

       On May 23, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act”). Petitioner alleges that she suffered a left shoulder injury caused-in-fact by her
September 18, 2014 influenza vaccination. Petition at 1. The case was assigned to the
Special Processing Unit of the Office of Special Masters.

        On September 16, 2016, a ruling on entitlement was issued, finding petitioner
entitled to compensation for a shoulder injury related to vaccine administration
(“SIRVA”). On March 27, 2017, respondent filed a proffer on award of compensation
(“Proffer”) indicating petitioner should be awarded $250,000.00. Proffer at 1. In the
Proffer, respondent represented that petitioner agrees with the proffered award. Based


1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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on the record as a whole, the undersigned finds that petitioner is entitled to an award as
stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $250,000.00 in the form of a check payable to
petitioner, Michele Dominianni. This amount represents compensation for all
damages that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS
___________________________________
                                    )
MICHELE DOMINIANNI,                 )
                                    )
       Petitioner,                  )    No. 16-606V ECF
                                    )
              v.                    )    Chief Special Master Dorsey
                                    )
SECRETARY OF HEALTH                 )
AND HUMAN SERVICES,                 )
                                    )
       Respondent.                  )
___________________________________ )

                      PROFFER ON AWARD OF COMPENSATION 1

I.     Procedural History

       On May 23, 2016, Michele Dominianni (“petitioner”) filed a petition for compensation

(“Petition”) under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -

34, as amended. She alleges that, as a result of receiving the influenza (“flu”) vaccine on

September 18, 2014, she suffered a left shoulder injury. Petition at 1.

       On September 16, 2016, respondent filed his Vaccine Rule 4(c) report, conceding

causation-in-fact for petitioner’s shoulder injury related to vaccine administration (“SIRVA”).

On that same day, the Chief Special Master issued a ruling on entitlement, finding that petitioner

was entitled to compensation for SIRVA.

II.    Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

$250,000.00, which represents all elements of compensation to which petitioner would be




       1
          This Proffer does not include attorneys’ fees and costs, which the parties intend to
discuss after the Damages Decision is issued.
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entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

III.   Form of the Award

       Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $250,000.00, in the form of a check payable to petitioner. 2

Petitioner agrees.

                                             Respectfully submitted,

                                             CHAD A. READLER
                                             Acting Assistant Attorney General

                                             C. SALVATORE D’ALESSIO
                                             Acting Director
                                             Torts Branch, Civil Division

                                             CATHARINE E. REEVES
                                             Deputy Director
                                             Torts Branch, Civil Division

                                             ALTHEA WALKER DAVIS
                                             Senior Trial Counsel
                                             Torts Branch, Civil Division

                                             /s/Darryl R. Wishard
                                             DARRYL R. WISHARD
                                             Senior Trial Attorney
                                             Torts Branch, Civil Division
                                             U. S. Department of Justice
                                             P.O. Box l46, Benjamin Franklin Station
                                             Washington, D.C. 20044-0146
                                             Direct dial: (202) 616-4357
Dated: March 27, 2017                        Fax: (202) 616-4310




       2
          Should petitioner die prior to entry of judgment, respondent would oppose any award
for future medical expenses, future lost earnings, and future pain and suffering, and the parties
reserve the right to move the Court for appropriate relief.
                                                   2
